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                       IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,

       Plaintiff,

v.                                                                 No. CR 18-4176 JB

STERLING ISLANDS, INC.,
AL-ZUNI GLOBAL JEWELRY, INC.,
JAWAD “JOE” KHALAF,
NADER KHALAF,
NASHAT “NASH” KHALAF,
ZAHER MOSTAFA, and
TAHA “TOM” SHAWAR,

       Defendants.


                        JOINT MOTION TO EXTEND DEADLINES

       Come now, all parties, for good cause, and move the Court to extend Defendants’ expert

notice and report disclosure deadline, Defendants’ Rule 12 motions deadline, and all parties’

Daubert motion deadlines. The parties move the Court to extend the expert disclosure and Rule

12 motion deadline two weeks, until July 19th, 2019, and the Daubert motion deadline

accordingly.


       1.      On March 12, 2019, the Court filed the Proposed Scheduling Order [Doc. 42]

(“Scheduling Order”). The Scheduling Order sets the deadline to disclose experts on May 24,

2019 and for Daubert motions on July 5. The Scheduling Order sets the deadline for motions

under Rule 12 for July 5.
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       2.      At the present time, the Court has extended Defendants’ expert disclosure

deadline to July 5. [Docket text of Doc. 75].


       3.      While previously granting all parties various extensions for Responses and

Replies, all pending motions are fully briefed.


       4.      Defendants’ anticipate filing at additional Rule 12 motion(s), but believe it might

be counterproductive to file them at this time.


       5.      On June 3, 2019, the United States and counsel for Defendants met to discuss this

proceeding and discuss potential pretrial resolution. Again, on June 17 and 18, 2019, after

written communication from counsel for Defendants, the United States and counsel for

Defendants continued their negotiations, making further progress. The parties worked towards a

final resolution throughout June, but there are issues still being negotiated. The parties’

discussions are ongoing and have been promising thus far.


       6.      The parties’ counsels’ discussion are ongoing. An extension of the deadlines

requested will not cause any delay in the scheduled November trial in this matter. Thus, good

cause exists to grant the relief requested in this motion.


       7.      For all of these reasons, under 18 U.S.C. § 3161(h)(7) and United States v.

Toombs, 713 F.3d 1273 (10th Cir. 2013), the ends of justice are served by the two-week

extension of the Rule 12 motion deadline, the additional two-week extension of the expert

disclosure deadlines, and a related extension of the Daubert deadline, to allow the parties to

continue the discussion in which they are currently engaged, outweigh the best interest of the

public and the Defendants in adhering to the Scheduling Order’s and Local Rules’ deadlines, and


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good cause exists to grant the extensions.




                                             CONCLUSION


       For good cause, because the two-week extensions requested will not delay any matters in

this proceeding, and because the ends of justice served by granting the extensions outweigh the

best interest of the public and Defendants in adhering to the current deadlines, the parties move

the Court to extend for two weeks, until July 19, 2019, Defendants’ deadline to file their expert

notice(s) and to file their Rule 12 motion(s). The parties also request that the Court set Daubert

motions deadlines accordingly.




                                      Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

       I hereby certify that on July 3, 2019, I filed the foregoing pleading electronically through
the CM/ECF system, which caused all parties or counsel to be served by electronic means, as
more fully reflected on the Notice of Electronic Filing.

                                      By /s/ Hope Eckert
                                             Hope Eckert




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